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                                                                     September 19, 2022

                              Smith et al. v. Annucci et al.
                     1:21-cv-01715-RA [rel: 1:17-07954-RA-OTW]

Dear Judge Wang:

                I write to inform the Court that Plaintiffs’ counsel has an unavoidable
conflict with the in-person status conference currently scheduled for October 18, 2022 at
2:00 p.m. (ECF No. 152.) Plaintiffs respectfully request that the conference be
rescheduled for either October 19, 2022 or October 27, 2022. Defendants consent to this
request.


                                                            Respectfully




                                                                /s/ David M. Stuart
                                                                  David M. Stuart
                                                               Attorney for Plaintiffs


The Honorable Ona T. Wang
   United States District Court for the Southern District of New York
      Daniel Patrick Moynihan United States Courthouse
          500 Pearl Street, Room 20D
              New York, New York 10007

VIA CM/ECF
